                               UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF OREGON

In re                                    )
                                         )             17-34449-dwh12
                                             Case No. ________________
SOBELLA NURSERY, INC.                    )
                                         )   NOTICE OF APPLICATION FOR
                                         )   (Mark One) INITIAL
                                         )              SUPPLEMENTAL/ADDITIONAL
                                         )   COMPENSATION FOR CH. 12
Debtor(s)                                )   DEBTOR'S ATTORNEY

      The debtor's attorney named below has applied for compensation from debtor's estate as marked
                                                   15,464.30
above for legal services rendered in the sum of $____________; now, therefore,

          NOTICE IS GIVEN that unless within 21 days of the service date below an interested party BOTH:
(1) FILES a written objection, setting forth the specific grounds for such objection, with the Clerk of Court
(i.e., if the 5-digit portion of the Case No. begins with "3" or "4", mail to 1001 SW 5th Ave. #700, Portland
OR 97204; OR if it begins with "6" of "7", mail to 405 E 8th Ave #2600, Eugene OR 97401), AND (2)
                                                                                     Virginia Andrews
SERVES copies thereof on the debtor's attorney, U.S. Trustee, and Trustee, ___________________
____________, whose service address is: 5506
Burdette                                             6th Ave S Ste 207, Seattle WA 98108
                                                _______________________________________________
_______________, the debtor's attorney may submit an order allowing compensation requested above.

(NOTE: UNLESS an order is submitted AND signed, the trustee will not pay the requested
compensation!)

                                             Troy G. Sexton
                                             ________________________________________________
                                             Type or Print Debtor's Attorney's Name

                                             Motschenbacher & Blattner, LLP 117 SW Taylor St #300
                                             __________________________________________________
                                             Attorney's Service Address

                                             Portland, Oregon 97204
                                             __________________________________________________


                                             503-417-0500
                                             __________________________________________________
                                             Telephone Number


        I certify that on __________
                            04/20/18    copies of this Notice and Local Form #1214 were served on the
debtor(s), trustee, and U.S. Trustee; and a copy of only this Notice was served on all creditors if required
by FRBP 2002(a)(6) (or if original time to file claims has expired, only on creditors who filed claims and
entities that filed a request to receive all case notices).


                                             /s/ Troy G. Sexton
                                             __________________________________________________
                                             Signature of Party Giving Notice

                                             Attorney for Debtor
                                             __________________________________________________
                                             Signer's Relationship to Applicant

1214.5 (8/8/08)

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                                     UNITED STATES BANKRUPTCY COURT
                                           DISTRICT OF OREGON

In re                                         )            17-34449-dwh12
                                                  Case No. _______________
                                              )
                                              )   APPLICATION FOR CHAPTER 12
SOBELLA NURSERY, INC.                         )   (Mark One)  INITIAL
                                              )              SUPPLEMENTAL/ADDITIONAL
                                              )   COMPENSATION OF ATTORNEY
Debtor(s)                                     )   FOR DEBTOR

                      Motschenbacher & Blattner, LLP
       The applicant, _________________________________________________________________,           by and
through the undersigned, pursuant to 11 USC §331 and LBR 2016-1, applies for compensation as marked above
                      11/30/17 to __________,
for the period from __________       4/20/18     and certifies the following is true and correct:

    1. The following pre-filing compensation has been received in connection with this case (indicate date,
amount, payer, payer's relation to case, and description for all monies and any other consideration received):

NA




                                                                                 15,121.50
     2. Applicant requests allowance of compensation for: Legal Services of $________________; Expenses
         342.81
of $________________;                      15,464.30
                       for a Total of $________________.

        3. Applicant's prior requests for compensation in this case are as follows:

 Date of                 Amount                        Amount                       Amount           Payment
Application             Requested                      Allowed                     Received           Source
                    Fees     Expenses             Fees      Expenses          Fees      Expenses




TOTALS: $__________ $__________ $__________ $__________ $__________ $__________


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     4. Applicant has not shared or agreed to share any compensation received or to be received for services
rendered in connection with this case, except with a regular member, partner or associate of Applicant's firm.

     5. The rate of compensation, number of hours and requested fee for each person included in this application
are summarized as follows:

  Timekeeper                                                               Hourly          Number          Requested
(name & initials)                         Title                             Rate           Of Hours          Fee

Nicholas J. Henderson (NJH 11)           Partner                           375            32.0              $11,940.00

Troy G. Sexton (TGS 12)                  Associate                         315            10.1               $3,181.50




     6. Attached and incorporated herein by reference are the following schedules (check those that apply):

         Schedule A - A narrative summary of services provided including total hours and resulting benefits to the
         estate of each activity category. [Preferred, but only mandatory if application exceeds $3,000.]

         Schedule B - [If this is the Initial Application for Compensation] A brief narrative and itemization detailing
         all case related PRE-PETITION fees. [Itemization mandatory; narrative mandatory if compensation
         requested in the application exceeds $3,000.]

         Schedule C - An itemized billing setting forth a description of each event, including the date, amount of
         time spent, and name of the person performing each event. [Mandatory]

      7. Applicant's expense reimbursement requests do not exceed the sums specified in LBR 2016-1, except
to the extent specifically explained below:




                4/20/18
      8. On __________     copies of this Application, all attachments thereto, and the required Notice of Application
[prepared on Local Form #1214.5] were served on the debtor(s), trustee, and U.S. Trustee; and a separate copy
of only the Notice was served on all creditors if required by FRBP 2002(a)(6) (or if original time to file claims has
expired, only on creditors who filed claims and entities that filed a request to receive all case notices).


     DATED: __________
              4/20/18                                  /s/ Troy G. Sexton
                                                       _______________________________________________
                                                       Signature
                                                       Troy G. Sexton 503-417-0500
                                                       _______________________________________________
                                                       Signer's Name and Phone #
                                                       117 SW Taylor St, Ste 300, Portland OR 97204
                                                       _______________________________________________
                                                       Address
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                                           Schedule A
                                 Summary of Activity Categories
                                       Sobella Nursery, Inc
                               Case No. 17-34449-dhw12 (lead case)

Interim Services Entries. These activity categories include all the time spent during the period of
the day of filing (November 30, 2017) through the date of filing of the Debtors’ Application to
Employ (December 11, 2017):

a. Schedule Preparation .5
b. First Day Motions 4.7
c. Employment of Professionals .6
d. General Bankruptcy Matters 3.9

Hours: 9.7

1. General Bankruptcy Matters. Hours: 14.7
This activity category includes all services of a miscellaneous nature which do not fit specifically
into a more defined activity category. It includes such activities as receiving calls from creditors
in the case, telephone calls from various other attorneys or interested parties, review of the
monthly reports, review of various pleadings, etc.

2. Schedule Preparation /Amendments: Hours: 3.4
This activity category contains the time spent preparing the Debtor’s schedules and any
amendments, including but not limited to reviewing appropriate source documents, preparing
spreadsheets, and drafting and revising the schedules.

3. First Day Motions. Hours: 7.5
This category contains the time spent preparing the first day motions, including motions for use
of Cash Collateral, payroll motion; and utility providers motion; attending hearings and
presenting argument in support of the first day motions; preparing orders approving the various
Motions and negotiations with the various interested parties.

4. Employment of Professionals and Fee Applications. Hours: 8.4
This activity category includes the time spent preparing applications for employment and the
relating supporting affidavits for the Professionals in the case. It also includes time spent related
to preparing and filing fee applications.

5. Plan and Confirmation Matters. Hours: 8.1
This activity category includes all time spent preparing the proposed Plan and First Amended
Plan filed by the Debtor, including but not limited to creating budgeting spreadsheets, drafting a
liquidation analysis and reviewing valuations of property, legal research regarding plan
provisions and possible confirmation issues, attending hearings and negotiations with Creditors
and the Chapter 12 Trustee on the content of the Plan. These efforts, a consensual plan was
agreed upon. Thereafter, the Debtors obtained confirmation of the Plan.




{00056383:1}


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                                                     Schedule C


                                           Detail Transaction File List
                                           Motschenbacher & Blattner LLP

         Trans               Stmt # Hours
Client   Date        Tmkr    Rate   to Bill Amount

Fees
   3940 11/30/2017      11      375    2.5 $     937.50 Multiple emails and telephone calls from D. Ricks regarding case information
                                                        and strategy(.3); review case information (.3; review first day motions (.3); attend meeting
                                                        with clients(1.1); revise and finalize petition for filing (.3); email to R. Vanden Bos and D.
                                                        Ricks regarding filing (.2).
   3940 12/01/2017      11      375    2.2 $     825.00 Review and revise first day motions; multiple emails to/from D. Ricks and client
                                                        regarding first day motions and projected budgets (.4); conference call with client and
                                                        D. Ricks regarding status and budget.
   3940 12/04/2017      11      375    0.5 $     187.50 Review budget from client; telephone call to D. Ricks regarding same; review
                                                        revised budget from client; email to D. Ricks regarding cash collateral motion.
   3940 12/05/2017      11      375    1.2 $     450.00 Prepare for and attend hearing on First Day Motions (0.9); follow-up meeting with
                                                        clients and R. Vanden Bos (0.3).
   3940 12/06/2017      11      375    0.5 $     187.50 Draft order on payroll motion; email to R. Vanden Bos regarding same; email to
                                                        G. Johnnie regarding same.
   3940 12/07/2017      11      375    1.1 $     412.50 Multiple emails to/from G. Johnnie regarding financial and documentation
                                                        questions (0.4); telephone call to G. Johnnie regarding same (0.2); emails
                                                        to/from B. Vanden Bos and client regarding same (0.3); telephone call to D.
                                                        Ricks regarding same (0.2).
   3940 12/08/2017      11      375    1.7 $     637.50 Telephone call from G. Johnnie regarding cash collateral and bank transfer
                                                        issues (0.2); telephone call to D. Ricks regarding same (0.2); multiple emails to
                                                        client regarding updates (0.4); telephone call from client regarding G. Johnnie
                                                        questions and wire transfer issues (0.3); draft employment motion and 2014
                                                        statement (0.2); telephone call from client regarding intake information (0.4).
   3940 12/12/2017      11      375    0.3 $     112.50 Email from G. Johnnie regarding cash collateral; email from B. Vanden Bos
                                                        regarding same; email to D. Ricks regarding same; email from/to S. Sobella
                                                        regarding schedules questions.
   3940 12/13/2017      11      375    1.2 $     450.00 Review email from G. Johnnie (0.2); email to D. Ricks regarding same (0.2);
                                                        conference call with D. Ricks and T. Sexton regarding Farm Credit and Cash
                                                        Collateral Order (0.5); telephone call to S. Sobella regarding intake questions
                                                        (0.3).
   3940 12/14/2017      11      375    1.2 $     450.00 Multiple emails from R. Vanden Bos regarding updates (0.3); emails to/from
                                                        client regarding inventory and Kubota Credit request for information (0.3); email
                                                        from C. McClurg regarding DIP account (0.2); conference call with D. Ricks and
                                                        G. Johnnie regarding cash collateral (0.4).
   3940 12/18/2017      12      315    0.8 $     252.00 Prepare for and attendance at cash collateral hearing.
   3940 12/27/2017      11      375    2.9 $   1,087.50 Multiple emails to/from S. Sobella regarding schedules and trustee requests
                                                        (0.6); conference call with S. Cobb regarding financial documents and schedules
                                                        (0.3); telephone call to client regarding schedules (0.6); review documents from
                                                        client and revise schedules (1.2); email to client regarding final approval of
                                                        schedules (0.2);
   3940 12/27/2017      12      315    0.4 $     126.00 Review cash collateral motion; emails with D. Ricks regarding same.
   3940 01/03/2018      11      325      1 $     325.00 Attend 341(a) Meeting of Creditors.
   3940 01/19/2018      12      315    0.4 $     126.00 Telephone conference with D. Ricks regarding employment motion issues;
                                                        review and approve same.
   3940 01/23/2018      12      315    1.1 $     346.50 Review monthly draft report (0.2); telephone conference with S. Sobella
                                                        regarding issues with same (0.5); revise same (0.3); emails with C. Coyle
                                                        regarding filing same (0.1).
   3940 01/25/2018      11      375    0.8 $     300.00 Emails from G. Johnnie and R. Vanden Bos regarding CPA and financial
                                                        information (0.2); review monthly operating report (0.2); conference with T.
                                                        Sexton regarding same (0.2); email from T. Tingleaf regarding monthly
                                                        statements (0.2)
   3940 01/26/2018      11      375    0.2 $      75.00 Review email from client regarding statement questions.
   3940 01/29/2018      11      375    0.2 $      75.00 Review email from G. Johnnie regarding payment question; email from T.
                                                        Tingleaf regarding payment issue.
   3940 01/30/2018      11      375      1 $     375.00 Attend telephone hearing regarding Motion for Reconsideration (0.3); follow-up
                                                        call from B. Vanden Bos (0.2); email from B. Vanden Bos regarding order (0.2);
                                                        emails from T. Tingleaf and V. Burdette regarding same (0.2).
   3940 01/31/2018      11      375    0.4 $     150.00 Email from R. Vanden Bos regarding modified applications to employ; email from
                                                        client regarding Jason Shuler.
   3940 02/01/2018      11      375    0.2 $      75.00 Review order regarding 20-day creditors; email from R. Vanden Bos regarding
                                                        same.
   3940 02/05/2018      11      375    0.4 $     150.00 Review email from court regarding requirements and Atkins case; review Atkins
                                                        case; review memo from S. Cobb regarding same.
   3940 02/06/2018      11      375    0.3 $     112.50 Email from G. Johnnie regarding payment issue; telephone call from D. Ricks
                                                        regarding same.
   3940 02/08/2018      11      375    0.2 $      75.00 Review email from D. Ricks regarding payment.
   3940 02/09/2018      11      375    0.4 $     150.00 Email from G. Johnnie regarding partnership issue; emails and conference with
                                                        D. Ricks regarding same.
   3940 02/11/2018      11      375    0.3 $     112.50 Email from client regarding reports; review same.




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   3940   02/13/2018     12       315      0.5   $   157.50   Analyze issues with January report.
   3940   02/13/2018     11       375      0.2   $    75.00   Email from S. Sobella regarding projections; review report regarding same.
   3940   02/15/2018     11       375      0.2   $    75.00   Emails from R. Vanden Bos and client regarding IRS issues.
   3940   02/21/2018     11       375      0.4   $   150.00   Telephone call from B. Vanden Bos regarding Chapter 12 Plan; review code
                                                              provisions regarding plan requirements and confirmation elements.
   3940 02/23/2018       11       375       1 $      375.00   Email from D. Ricks regarding monthly report (0.1); email to G. Johnnie
                                                              regarding same (0.1); review lengthy objection email from G. Johnnie (0.3);
                                                              review Chapter 12 Plan (0.3); draft email to B. Vanden Bos regarding same (0.2).
   3940 02/26/2018       11       375      1.2 $     450.00   Review Chapter 12 Plan and attachments (0.5); telephone call from R. Vanden
                                                              Bos regarding strategy (0.2); emails to/from G. Johnnie regarding reports and
                                                              zoning issues (0.2); emails from/to R. Vanden Bos regarding plan and zoning
                                                              issue (0.3).
   3940 02/27/2018       11       375      0.5 $     187.50   Multiple emails with counsel regarding confirmation scheduling; email from client
                                                              regarding equipment sales.
   3940 02/28/2018       11       375      0.9 $     337.50   Review multiple emails from G. Johnnie regarding relative embezzlement
                                                              allegations and plan concerns (0.3); telephone call to client regarding same
                                                              (0.3); emails from client regarding same (0.3).
   3940 03/01/2018       11       375      0.6 $     225.00   Review multiple emails from client, G. Johnnie and R. Vanden Bos; meeting with
                                                              D. Ricks regarding strategy.
   3940 03/05/2018       11       375      0.4 $     150.00   Review emails and letter from G. Johnnie regarding Vanessa Sobella
                                                              employment and patronage; emails from/to client regarding same; email to G.
                                                              Johnnie regarding Vanessa employment; email to B. Vanden Bos regarding
                                                              patronage.
   3940 03/06/2018       11       375      0.2 $      75.00   Email from S. Sobella regarding patronage; email to client regarding letter from
                                                              G. Johnnie.
   3940 03/16/2018       11       375      0.4 $     150.00   Email from T. Tingleaf regarding monthly report; email to client regarding same.
   3940 03/16/2018       11       375      0.4 $     150.00   Review G. Johnnie email regarding objection to confirmation; email from B.
                                                              Vanden Bos regarding same; email from client regarding reports.
   3940 03/16/2018       12       315      0.3 $      94.50   Conference with N. Henderson regarding monthly report issues.
   3940 03/19/2018       11       375        1 $     375.00   Email from R. Vanden Bos regarding monthly report (.2); review client documents
                                                              and draft monthly reports(.3); telephone call to client regarding additional
                                                              information(.2); revise figures for monthly report and email to client regarding same(.3).
   3940 03/20/2018       11       375      0.5 $     187.50   Emails from/to client regarding monthly reports; review and revise same; email to
                                                              V. Burdette regarding monthly reports; email to G. Johnnie regarding same.
   3940 03/23/2018       11       375      0.2 $      75.00   Email from client regarding tax issues.
   3940 03/27/2018       12       315      0.3 $      94.50   Emails with R. Vanden Bos regarding extension of time to file objections
   3940 03/29/2018       11       375      0.5 $     187.50   Review multiple emails from R. Vanden Bos, G. Johnnie, V. Burdette, S.
                                                              Martinez regarding amendments to Plan; email from R. Vanden Bos regarding
                                                              amended plan; review amended plan; conference with T. Sexton regarding
                                                              same.
   3940 03/29/2018       12       315      0.3 $      94.50   Review amended plan; emails with cocounsel regarding plan filing.
   3940 04/02/2018       11       375      0.5 $     187.50   Review multiple emails from R. Vanden Bos regarding OCP and hearing; review
                                                              email from S. Martinez regarding OCP language; review email from client
                                                              regarding information for projections.
   3940 04/03/2018       11       375      1.8 $     675.00   Meeting with clients and B. Vanden Bos regarding confirmation hearing (0.8);
                                                              attend confirmation hearing (1.0).
   3940 04/04/2018       11       375      0.2 $      75.00   Attend telephone hearing regarding OCP provisions.
   3940 04/12/2018       11       325      0.2 $      65.00   Emails from/to G. Johnnie regarding reporting; email from G. Johnnie regarding
                                                              payment calculation.
   3940 04/16/2018       12       315      1.6 $     504.00   Telephone conference with N. Henderson regarding employment application
                                                              issues and nunc pro tunc analysis (.3) ; analyze nunc pro tunc issues (.9);
                                                              prepare notice of filing (.4).
   3940   04/17/2018     12       315      0.8   $   252.00   Continue work on nunc pro tunc filing.
   3940   04/18/2018     12       315      0.5   $   157.50   Work on declaration regarding fees and nunc pro tunc application.
   3940   04/18/2018     12       315      0.5   $   157.50   Work on declaration regarding fees and nunc pro tunc application.
   3940   04/18/2018     12       315      2.6   $   819.00   Finallise Fees and Application for Compensation (.6); break out fees based on category(1.6);
                                                              emails with client regarding Application(.2); emails with N. Henderson regarding declaration (.2)
Total for Fees                Billable    42.1 $ 15,121.50

Expenses
   3940 11/30/2017       11                      $   275.00   United States Bankruptcy Court; filing fee
   3940 12/31/2017       11                      $    61.18   Postage
   3940 12/31/2017       11                      $     6.03   Westlaw; legal research
   3940 12/31/2017       11                      $     0.60   PACER; court access

Total for Expenses            Billable      0 $      342.81

                                                 GRAND TOTALS

                              Billable    42.1 $ 15,464.31

          Timekeeper          Num
          N. Henderson              11
          T. Sexton                 12




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